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                                                                                2024 Aug-29 PM 02:24
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                                                                   PFE/AJG: SEPT 2024
                                                                               GJ# 10



               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         EASTERN DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
            v.                                     ) No.
                                                   )
JUSTUS RAMONE EDMONSON                             )


                                 INDICTMENT

                                COUNT ONE:
                          Possession of a Machinegun
                              [18 U.S.C. § 922(o)]

The Grand Jury charges that:

      On or about the 29th day of April 2024, in Calhoun County, within the

Northern District of Alabama, the defendant,

                       JUSTUS RAMONE EDMONSON,

did knowingly possess a machinegun, that is, a Glock model 23 .40 caliber pistol,

modified with a machinegun conversion device, that is a combination of parts

designed and intended for use in converting a semiautomatic Glock-type pistol into

a machinegun, in violation of Title 18, United States Code, Section 922(o).




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                          NOTICE OF FORFEITURE
                   [18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)]

      1.       The allegations contained in Count One of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging

forfeiture to the United States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §

2461(c).

       2.      Upon conviction of the offense charged in Count One of this

Indictment, the defendant, JUSTUS RAMONE EDMONSON, shall forfeit to

the United States of America, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §

2461(c), all firearms, magazines, and ammunition involved in or used in the

commission of the offense, including, but not limited to:

            1. a Glock model 23 .40 caliber pistol modified with a machinegun

               conversion device designed to enable automatic fire, bearing serial

               number MZD993, and;




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       2. any associated magazines and ammunition.


A TRUE BILL

/s/electronic signature
FOREPERSON OF THE GRAND JURY

                                       PRIM F. ESCALONA
                                       United States Attorney

                                       /s/electronic signature
                                       ALLISON J. GARNETT
                                       Assistant United States Attorney




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